Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 1 of 25

Exhibit A
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 2 of 25

ILNDIVIDUAINCEAIMANTZINEORMATIONE

Last First Middle Initial

Name:

Social Security Number/ Individual Taxpayer Identification Number:

Last First Middle Iniba!
Spouse Name: KIED - Ag
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Spouse Sacial Security Number/ Individual Taxpayer Identification Number:

| | ET RSUSINESSICUAIMANTSENEORMATION ME 3
oe i | hilllihlea i ae are amersmeeiess vom &

Employer Identification Number/ Social Security Number:

as

Last First Midgle Initial

Authorized Business
Representative: Title

Authorized Business Representative Social Security Number/ Individual Taxpayer
Identification Number:

Last First Middle Initial
Spouse Name:

Spouse Secial Security Number/ Individual Taxpayer Identification Number: |

ee TTPINEORMATIONABOUIAINE|CUAIMANTIREPRESENTATIVE)

if the claimant is: (1) deceased; (2) a minor; or (3) incompetent and legally unable to sign for himself or herself, you must
submit documentation to the Claims Administrator showing your authority to act on behalf of the claimant, if you have not
already done so. See Section 4 of the Registration Form Instructions Booklet for a description of the required documentation.

Representative Last First Middle Initial

Name:

Representative Social Security Number/ Individual Taxpayer Identification

Number:

The claimant is: [1 Deceased C1 Incompetent [1] Declared Bankrupt (or currently undergoing Bankruptcy
DA Minor 1 A Dissolved Business Proceedings)

Source of your
authority to act as 1 court Order 2 Power of Attorney [J Letters of Administration

Representative for |] Tutorship (CJ Conservatorship (J Guardianship [1 other (specify):

the claimant:
I VAEPAYMENTSINFORMATION

Claimant ID: 100037938 Claim Type: Business Economic Loss

Claim ID: 19109 Payment Amount: $136,840.21
EXHIBIT A
REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100037938

RE A A Page 1 of 20 Claim ID; 19109
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 3 of 25

IMPORTANT .INFORMATION'Al S3OUT-THEVATTACHED- FULL AND FINAL RELEASE
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OPS OS EAIEEMENT;AND COVENANT. NOT:TO'SUE:

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All claimants have the right to consult with an attorney of their own choosing Prior to accepting any
settlement payment or signing a release of legal rights. If you are represented by an attorney in
connection with your claim, confer with your attorney before signing this document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release”) is a binding legal
document. By signing this document, you are forever waiving and releasing all claims that you may have against BP
or any other party in connection with the Deepwater Horizon Incident (as defined in the Individual Release) except
for Expressly Reserved Claims (as defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any rights that
you may have for any costs, damages, causes of actions, claims, or other relief related to or arising
from the Deepwater Horizon Incident except for Expressly Reserved Claims even if you are not
currently aware of such costs or damages and even if such costs or damages arise in the future (i.e.,
additional oil impacts) or do not manifest themselves until the future.

By signing the attached Individual Release, you acknowledge that you have read and understand the terms of the
Individual Release, and that you execute the Individual Release voluntarily and without being pressured or
influenced by, and without relying upon, any statement or representation made by any person acting on behalf of
BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District Court in New
Orleans presiding over the multidistrict litigation titled Jn re Oil Spill by the Oil Rig "Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010 (MDL No. 2179). A class action settlement has been proposed in that case, but the
Court has not yet, given final approval of that proposed settlement. If the Court does approve the proposed class
action settlement, an appellate court could reverse the approval. In addition, it is possible that the terms of the
proposed settlement may change in the future—for better or for worse—as a result of further legal proceedings.
However, if you sign this Individual Release, none of those uncertain future events will affect you. By signing this
Individual Release you are forever waiving and releasing all claims that-you may have against BP
(except for Expressly Reserved Claims) in exchange for the compensation being provided. In fact, even
if the Court does not approve the proposed class action settlement agreement or the approval is reversed by an
appellate court, you shall continue to be bound by this Individual Release.

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you are married, or if
the business is jointly owned by you and your spouse, both you and your spouse must sign the Individual Release.
For an Individual Claimant, if you are married, both you and your spouse must sign the Individual Release. You and
your spouse should not sign the Individual Release unless you both intend to release and give up all of your claims.

By signing below, you acknowledge that you have read and understand the information above. You elect to accept
the payment as a final settlement of all claims against any party in connection with the Deepwater Horizon Incident
except for Expressly Reserved Claims. You consent to the use and disclosure by the Claims Administrator and those
assisting the Claims Administrator of any information that the Claims Administrator believes necessary and/or
helpful to process your claim for compensation and payment and to any legitimate business purposes associated
with administering the settlement facility. Finally, you consent to the Claims Administrator providing documentation
and information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement.

iT A-2

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100037938
ITT A Page 2 of 20 Claim ID: 19109

Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 4 of 25

al. 22

1/We acknowledge that I/we have read and understand the information above. I/We consent to the claimant’s
election to accept the payment as a final settlement of all claims of claimant against any party in connection with

the Deepwater Horizon Incident except for Expressly Reserved Claims.
/ /

Date

Signature of Claimant’s Spouse Date

EXHIBIT A-3

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100037938
(AITO ATE DT Page 3 of 20 Claim ID: 19109

Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 5 of 25

Claimant hereby signs to attest to and vouch for the accuracy of the certification below: F

I certify that I understand and acknowledge that, (subject to my right to additional Settlement Payments, if any,
pursuant to Section 4.4.8 of the Settlement Agreement), I am forever giving up with prejudice and discharging,
without any right of legal recourse whatsoever, any and all rights I have or may have to the Released Claims
against the Released Parties. I acknowledge that by having executed the Individual Release and signing
below neither 1 nor the entity I represent has been pressured or influenced by, or is relying on any statement or
representation made by any person acting on behalf of BP or any other Released Party. I certify that I
understand that I have the right to consult with an attorney of my choosing before signing this Individual
Release.

(1) Thave not made an insurance claim or received any insurance proceeds for any business or property Claim
arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident; OR

(2) If 1 have made or do make an insurance claim and/or receive or have received insurance proceeds for any
business or property claim arising out of, due to, resulting from, or relating in any way to, directiy or
indirectly the Deepwater Horizon Incident, I will indernnify BP for any liability it incurs for a subrogation
claim made against BP arising out of:

(a) such insurance proceeds, provided that the subrogation claim is brought by an entity seeking
payment of insurance proceeds to me for any business or property claim arising out of, due to,
resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident; and

(b) the amount that J indemnify BP shall not exceed the amount of insurance proceeds that I
received for the business or property claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH ANY REQUIREMENT TO
EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED AND THAT THIS
CERTIFI ON IS CONSPICUOUS AND AFFO

ys oma", SAIC ; Be na eetsaoe PEN

Claimant's Name

if Business Entity Claimant

Claimant's Spouse's Name Claimant's Spouse's Signature, Date
if applicable
REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100037938

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EXE IBiT Page 20 of 20 Claim ID: 19109
EAHIBIT A

Ee A
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 6 of 25

IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL 2173 SECTION: J JUDGE CARL BARBIER
i sng 3 5 ar ara mien

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et

al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et ai., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses ("“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

filed in MDL No. 2179 (10 md 2179).

Last Name iddle Name/Maiden

Phone Number E-Mail Address
Eee
Address City / State / Zi
INDIVIDUAL CLAIM oO BUSINESS CLAIM B
Employer Name Business Name
Job Title / Description Type of Business
(General Contractor)
Address Address

City / State / Zip ies ! State / ws

Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number

=

Attorney Name Firm Name

Jessica B. Reilly Restivo & Reilly, LLC

Address City / State / Zip

103400 Overseas Highway Suite 237 Key Largo, FL 33037

Phone Number E-Mail Address

305.453.4961 Jessica@restivoandreilly.com

Claim filed with BP? YES 0] NO Claim Filed wih GCCF?: YES NO

If yes, BP Claim No.: If yes, Claimant Identification No.:

Claim Type (Please check all that apply):

O Damage or destruction to real or personal property Ql Fear of Future injury and/or Medical Monitoring

Eamings/Profit Loss O Loss of Subsistence use of Natural Resources
Persona! Injury/Death By Removal and/or clean-up costs

1 This form should be filed with the U-S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action
No. 10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 In
MDL 2179), the filing of this form in CA. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1
The filing of this Direct Filing Short Form shall aleo serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

EXHIBIT 4-5
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 7 of 25

_——————————————————————

Brief Description:

1. For earings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claim
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

“See Attached Letter”

2. For personal injury claims, describe the injury, how and when it was sustained, and identify ail health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2

The filing of this Direct Filing Short Form shail aise serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

EXHIBIT a--
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 8 of 25

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle Bt)

Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing,
shrimping,crabbing or oystering.

—_

2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or
charter fishing business who earn their living through the use of the Gulf of Mexico.

4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service,
repair and supply, real estate agents, and supply companies, or an employee thereof.

Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
6. Plant and deck worker, including commercial seafood plant worker, longshoreman, or ferry operator.

7. Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

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9. Bank, financial institution, or retail business that suffered losses as a result of the spill.

10. Person who utilizes natural resources for subsistence.

O

[] 11. Other

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

[] 1. Boat captain or crew involved in the Vessels of Opportunity program.

C] 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

[] 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful
chemicals, odors and emissions during post-explosion clean-up activities.

({] 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

(] 5. Resident who lives or works in close proximity to coastal waters.

CO) 6 Other:

Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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Claimant or Attorney

Print Name

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The filing of this Direct Filing Short Form shali also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

EXHIBIT A-7
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 9 of 25

Pursuant t to > Paragraph 8 of Exhibit 7 to the Settlement Agreement, both the claimant 2 and the claimant's snomey must sign
this Attorney Fee Acknowledgment be before receiving any Settlement Payment.

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CAR EP LAR a ae an NE eee ASA Claimantil nintor MAUNA ei Bye S
Last Name Fret Name Middle Initial

Deepwater Horizon Settlement Program Claimant

Number: 100037938 EP Fay,

a q
Deepwater Horizon Settlement Program Claim Number: 19109 ( “ MAY 13 2013 ip
Law Firm Name ‘2 een i
Attorney: | 2 e st VO + Cw | hy LY ore FS

Attorney, am Attorney First Name

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The acinar and claimant's esas counsel hereby acknowledge ‘and a = that the Settlement Payment(s) ti to be paid to
the claimant pursuant to the Deepwater Horizon Economic and Property Damages Settlement Agreement, as
administered by the Claims Administrator, include(s) monies that fully and finally satisfy any and all fees and costs in
respect to representation of the claimant by any counsel, whether current or former, (including but not limited to
any fees and costs asserted by lien or privilege) in connection with the claim(s) and rights of such counsel to
them that are being released by the signed Full and Final Release, Settlement, and Covenant Not to Sue. This
Attorney Fee Acknowledgment does not limit or waive: (1) the recovery of any potential Common Benefit Fee and Costs
Award to the Economic Class Counsel and/or other common benefit attorneys who may submit time and costs in
compliance with Pretrial Order 9 or Section 5.16 or Exhibit 27 of the Settlement Agreement; or (2) the claimant or
attorney’s right to dispute or object to an allocation of attorneys’ fees and costs as among attorneys or between claimant
em i attorney.

By 1 my signature below, 1 certify and ae pursuant t 28 U. S.C. Section 1746 that the information orovided in this A ‘Attorney

Fee Acknowledgment is true and accurate to the best of my knowledge.
(7 | 42>

Date: (Month/Day/Year)

Claimant's Signature

——|

Last Name Fi Middle Initial
Printed Name: ees

Title (if a Business):

NY S10 71%
Attorney Signature \ Date: (Month/Day/Year)

Middle Initial

Printed Name: mme S +4 uD rtecka de te \
EXHIBIT 4-8

ATTY-10 v.1 WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM — Claimant ID: 100037938
AUIS TE OE AAT Page 1 of 2 Claim 10: 19109

Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 10 of 25

Exhibit B
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 11 of 25

TABINDIVIDUAISCEAIMANTSINEORMATION En

Spouse Name:

Last First Middle Initial
Name:
Social Security Number/ Individual Taxpayer Identification Number:

Last First Middle Initial

Spouse Social Security Number/ Individual Taxpayer Identification Number:

TTEBUSINESS|CGUAIMANTSINEORMATION IM
ee

Name of Business:

Employer Identification Number/ Social Security Number:

Last First o Middle Initial
Authorized Business | JUL 2 4 a
Representative: Title ip &
En ore ©
Authorized Business Representative Social Security Number/ Individual Taxpayer
Identification Number:
Last First Middle Initial

Spouse Name:

Spouse Social Security Number/ Individual Taxpayer Identification Number:

ITEM INEORMATIONABOUIATHE|CUAIMANTIREPRESENTATIVE

submit documentation

If the claimant is: (1) deceased; (2) a minar; or (3) incompetent and legally unable to sign for himself or herself, you must

already done so. See Section 4 of the Registration Form Instructions Booklet for a description of the required documentation.

to the Claims Administrator showing your authority to act on behalf of the claimant, if you have not

Claimant ID:

Representative cs First Middle Initial

Name:

Representative Social Security Number/ Individual Taxpayer Identification

Number;

The claimant is: LI Deceased C) Incompetent ([] Declared Bankrupt (or currently undergoing Bankruptcy
" CI A Minor (C0 A Dissolved Business Proceedings)

Source of your oo

authority to act as C1 Court Order ( Power of Attorney (J Letters of Administration

Representative for |[7] Tutorship (J Conservatorship C1 Guardianship (1 — other (specify):

the claimant:

BI VPAYMENTSINEORMATION

Claim Type:

100106725 Business Economic Loss

Claim ID:

57117 Payment Amount:

$99,075.63

EXHIBIT 3B.

REL-1

Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100106725
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 12 of 25

“IMPORTANT INFORMATION wou A GHED!FULAND FINAL RELEASE,
ES ORRSERTEMENPANDICOVENANTNOTTONSUE:

All claimants have the right to consult with an attorney of their own choosing prior to accepting any
settlement payment or signing a release of legal rights. If you are represented by an attorney in
connection with your claim, confer with your attorney before signing this document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (‘Individual Release”) is a binding legal
document. By signing this document, you are forever waiving and releasing all claims that you may have against BP
or any other party in connection with the Deepwater Horizon Incident (as defined in the Individual Release) except
for Expressly Reserved Claims (as defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any rights that
you may have for any costs, damages, causes of actions, claims, or other relief related to or arising
from the Deepwater Horizon Incident except for Expressly Reserved Claims even if you are not
currently aware of such costs or damages and even if such costs or damages arise in the future (i.e.,
additional oii impacts) or do not manifest themselves until the future.

By signing the attached Individual Release, you acknowledge that you have read and understand the terms of the
Individual Release, and that you execute the Individual Release voluntarily and without being pressured or
influenced by, and without relying upon, any statement or representation made by any person acting on behalf of
BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District Court in New
Orleans presiding over the-multidistrict litigation titled Jn're Oi/ Spill by the Oil Rig "Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010 (MDL No. 2179). A class action settlement has been proposed in that case, but the
Court has not yet given final approval of that proposed settlement. If the Court does approve the proposed class
action settlement, an appellate court could reverse the approval. In addition, it is possible that the terms of the
proposed settlement may change in the future—for better or for worse—as a result of further legal proceedings.
However, if you sign this Individual Release, none of those uncertain future events will affect you. By signing this
Individual Release you are forever waiving and releasing all claims that you may have against BP
(except for Expressly Reserved Claims) in exchange for the compensation being provided. In fact, even
if the Court does not approve the proposed class action settlement agreement or the approval is reversed by an
appellate court, you shall continue to be bound by this Individual Release.

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you are married, or if
the business is jointly owned by you and your spouse, both you and your spouse must sign the Individual Release.
For an Individual Claimant, if you are married, both you and your spouse must sign the Individual Release. You and
your spouse should not sign the Individual Release unless you both intend to release and give up ail of your claims.

By signing below, you acknowledge that you have read and understand the information above. You elect to accept
the payment as a final settlement of all claims against any party in connection with the Deepwater Horizon Incident
except for Expressly Reserved Claims. You consent to the use and disclosure by the Claims Administrator and those
assisting the Claims Administrator of any information that the Claims Administrator believes necessary and/or
helpful to process your claim for compensation and payment and to any legitimate business purposes associated
with administering the settlement facility. Finally, you consent to the Claims Administrator providing documentation
and information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement.

., EXHIBIT, © 2

_ Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100106725

Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 13 of 25

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I/We acknowledge that I/we have read and understand the information above. I/We consent to the claimant’s

election to accept the payment as a final settlement of all claims of claimant against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims.

3 [208

Date

Signature of Claimant’s Spouse Date

BS

» REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue

Claimant ID: 100106725
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consideration canbe 0 PahagraBhOFAbovepe Malthant Bbéing Yam O-wil-be GVEebY he Released
Parties, nor is any representation or warranty in this regard made by virtue of this Individual Release.
Claimant must consult his, her or its own tax advisors regarding the tax consequences of the Individual
Release (including the consideration granted in Paragraph 2 above) and any tax reporting obligations
Claimant may have with respect thereto. Claimant’s tax obligations, and the determination thereof, are his,
her, or its sole responsibility, and it is understood that the tax consequences may vary depending on
Claimant's particular circumstances. The Released Parties shall have no liability or responsibility
whatsoever for any such tax consequences resulting from payments under this Individual Release. To the

extent required by law, payments made from the Settlement Trust under this Individual Release will be
reported to the appropriate authorities.

Claimant's Name

ant's Signature & Title,

: Date
if Business Entity Claimant
Claimant's Spouse's Name Claimant's Spouse's Signature, Date

if applicable

EXHIBIT 54
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 15 of 25
IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL. 2179 SECTION: J JUDGE CARL BARBIER
CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
IN MASTER COMPLAINTS — PLAINTIFF/CLAIMANT PROFILE FORM
By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“Bi Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

filed in MDL No. 2179 (10 md 2179).
Last Name | First Name | Middle Name/Maiden | Suffix
EP =,
Phone Number E-Mail Address
(GomemeB4 DK yahoo. com
Address City / State / Zip
INDIVIDUAL CLAIM re | BUSINESS CLAIM i
“Employer Name OO | Business Name |
 GHOMAS WALSH TTUDDS P.A.
Job Title / Description Type of Business
Address | ‘Address
City / State / Zip City / State / Zip
Last 4 digits of your Social Security Number _ Last 4 digits of your Tax ID Number
2267
Attorney Name Firm Name
JESSICA B. REILLY _RESTIVO & REILLY, LLC
Address City / State / Zip
103400 OVERSEAS HIGHWAY, SUITE 237 | KEY LARGO, FL 33037
Phone Number E-Mail Address
(305) 453-4961 Jessica@restivoandreilly com
Claim filed with BP? Yes No mi Claim Filed with GCCF?: YES [_] NO @
if yes, BP Claim No.: lf yes, Claimant Identification No.:
SL SL I ST SU TE ETE
Claim Type (Please check all that apply):
oO Damage or desiruction to real or personal property oO Fear of Future Injury and/or Medical Monitoring
a Earnings/Profit Loss Oo Loss of Subsistence use of Natural Resources
Oo Personal Injury/Death Oo Removal and/or clean-up costs
O Other:

' This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 16 of 25
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Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

SEE ATTACHED LETTER

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

IT B-b

Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 17 of 25

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1}

0 1.

CL) 10.
Oo 11.

Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Bank, financial institution, or retail business that suffered losses as a result of the spill.
Person who utilizes natural resources for subsistence.

Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

Oo 1.
CO) 2.
O 3.

O 4.
OO 5.
OD 6.

Boat captain or crew involved in the Vessels of Opportunity program.
Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
Resident who lives or works in close proximity to coastal waters.

Other:

Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant or Attorney Signature

JESSICA B. REILLY, ESQ.

Print Name

08/16/2012

Date

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

EXtif

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Exhibit C
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BERELEASEICOVERISHEET;

MEE NDIVIDUALCUAIMANTSINEORMATION

: ST

Last First Middle Initial
Name:

Social Security Number/ Individual Taxpayer Identification Number:
Last First

Spouse Name: Middle Initial

Spouse Social Security Number/ Individual Taxpayer Identification Number:

ee LT BUSINESS |CUAIMANTFINFORMATION
Name of Business: fone

Employer Identification Number/ Social Security Number:

Authorized Business | ae
Representative: _fTitie a,

Authorized Business Representative Social Security Number/ Individua! Taxpayer be
Identification Number: :

Last First Middle Initial

Spouse Name:

Spouse Soctal Security Number/ Individual Taxpayer Identification Number:

TITBINFORMATION/ABOUISTHE\CLAIMANTIREPRESENTATIVE Sinn

If the claimant is: (1) deceased; (2) a minor; or (3) incompetent and legaily unable to sign for himself or herself, you must
submit documentation to the Claims Administrator showing your authority to act on behalf of the claimant, if you have not
already done so. See Section 4 of the Registration Form Instructions Booklet for a description of the required documentation.

Representative oo First Middle Initial

Name:

Representative Social Security Number/ Individual Taxpayer Identification

Number:

The claimant is: (C1) Deceased CJ Incompetent 1) Declared Bankrupt (or currently undergoing Bankruptcy
CJ A Minor (1 A Dissolved Business Proceedings)

Source of your .
authority to act as |C Court Order 1 Power of Attorney _[] Letters of Administration

Representative for |] Tutorship CD Conservatorship C1 Guardianship [J other (specify):

the claimant:
HIV PAYMENTSINEORMATION

Claimant ID: 100148856 es Hj ps Claim Type: , Business Economic Loss
, “a. oO
Claim ID: 119055 2) Payment Amount:
[ SEP 30 2013 Y
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REL-1

Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant iD: 106148856
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OVENANT:NOT T.0°SUE! 8

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SETTEEMENT; “AN

All claimants have the right to consult with an attorney of their own choosing prior to accepting any
setiiement payment or signing a release of legal rights. If you are represented by an attorney in
connection with your claim, confer with your attorney before signing this document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release”) is a binding legal
document. By signing this document, you are forever waiving and releasing all claims that you may have against BP
or any other party in connection with the Deepwater Horizon Incident (as defined in the Individual Release) except
for Expressly Reserved Claims (as defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any rights that
you may have for any costs, damages, causes of actions, claims, or other relief related to or arising
from the Deepwater Horizon Incident except for Expressly Reserved Claims even if you are not
currently aware of such costs or damages and even if such costs or damages arise in the future (i.e.,
additional oi! impacts) or do not manifest themselves until the future.

)

By signing the attached Individual Release, you acknowledge that you have read and understand the terms of the
Individual Release, and that you execute the Individual Release voluntarily and without being pressured or
influenced by, and without relying upon, any statement or representation made by any person acting on behalf of
BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District Court in New
Orleans presiding over the multidistrict litigation titled Jn re Oi! Spill by the Oil Rig “Deepwater Horizon’ in the Gulf
of Mexico, on April 20, 2010 (MDL No. 2179). A class action settlement has been proposed in that case, but the
Court has not yet given final approval of that proposed settlement. If the Court does approve the proposed class
action settlement, an appellate court could reverse the approval. In addition, it is possible that the terms of the
proposed settlement may change in the future—for better or for worse—as a result of further legal proceedings.
However, if you sign this Individual Release, none of those uncertain future events will affect you. By signing this
Individual Release you are forever waiving and releasing all claims that you may have against BP
(except for Expressly Reserved Ciaims) in exchange for the compensation being provided. In fact, even
if the Court does not approve the proposed class action settlement agreement or the approval is reversed by an
appellate court, you shall continue to be bound by this Individual Release.

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you are married, or if
the business is jointly owned by you and your spouse, both you and your spouse must sign the Individual Release.
For an Individual Claimant, if you are married, both you and your spouse must sign the Individual Release. You and
your spouse should not sign the Individual Release unless you both intend to release and give up all of your claims.

By signing below, you acknowledge that you have read and understand the information above. You elect to accept
the payment as a final settlement of all claims against any party in connection with the Deepwater Horizon Incident
except for Expressly Reserved Claims. You consent to the use and disclosure by the Claims Administrator and those
assisting the Claims Administrator of any information that the Claims Administrator believes necessary and/or
helpful to process your claim for compensation and payment and to any legitimate business purposes associated
with administering the settlement facility. Finally, you consent to the Claims Administrator providing documentation
and information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement.

EXHIBIT ¢-a

Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100148856

REL-1

Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 21 of 25

We acknowledge a we have read and understand the information above, We eat “to the claimant's
election to accept the payment as a final settlement of all claims of claimant against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims.

OWNER 4/26 20! 2

Sig Date ‘

Signature of Claimant's Spouse Date

EXHIBIT C-

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100148856

(AE Page 3 of 20 Claim ID: 119055
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 22 of 25

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Claimant hereby signs t to attest to and vouch for the accuracy of the certification below:

I certify that I understand and acknowledge that, (subject to my right to additional Settlement Payments, if any,
pursuant to Section 4.4.8 of the Settlement Agreement), I am forever giving up with prejudice and discharging,
without any right of legal recourse whatsoever, any and all rights I have or may have to the Released Claims
against the Released Parties.. I acknowledge that by having executed the Individual Release and signing
below neither I nor the entity I represent has been pressured or influenced by, or is relying on any statement or
representation made by any person acting on behaif of BP or any other Released Party. {| certify that I
understand that I have the right to consult with an attorney of my choosing before signing this Individual
Release.

I a that either:

(1) Ihave not made an insurance claim or received any insurance proceeds for any business or property Claim
arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident; OR

(2) If I have made or do make an insurance claim and/or receive or have received insurance proceeds for any
business or property claim arising out of, due to, resulting from, or relating in any way to, directly or
indirectly the Deepwater Horizon Incident, I will indemnify BP for any liability it incurs for a subrogation
claim made against BP arising out of:

(a) such insurance proceeds, provided that the subrogation claim is brought by an entity seeking
payment of insurance proceeds to me for any business or property claim arising out of, due to,
resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident; and

(b) the amount that I indemnify BP shall not exceed the amount of insurance proceeds that I
received for the business or property claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH ANY REQUIREMENT TO
EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED AND THAT THIS
CERTIFICATION IS CONSPICUOUS AND AFFORDS FAIR AND atone NOTICE:

_ESSIGNATURES:’

Claimant's
if Business

Claimant's Spouse’s Name Claimant's Spouse's Signature, Date
if applicable
REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100148856

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Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 23 of 25

IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM"

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL 2179 SECTION: J JUDGE CARL BARBIER

CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
IN MASTER COMPLAINTS — PLAINTIFF/CLAIMANT PROFILE FORM

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
{Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

| Last Name First Name Middle Name/Maiden Suffix

| Phone Number

Address City / State / Zip
INDIVIDUAL CLAIM C BUSINESS CLAIM =
Employer Name Business Name
Job Title / Description Type of Business
Address Address
City / State / Zip City / State / Zip
Last 4 digits of your Social Security Number Last 4 digits of your Tax !D Number |
Attorney Name Firm Name
JESSICA B. REILLY RESTIVO & REILLY, LLC |
Address City / State / Zip |
103400 OVERSEAS HIGHWAY, SUITE 237 KEY LARGO, FL 33037
Phone Number E-Mail Address

305) 453-4961 jessica@restivoandreill

Claim filed with BP? YES [J NO nl Claim Filed with GCCF?: YES ["] NO Hi

If yes, BP Ciaim No.: If yes, Claimant Identification No.:

Claim Type (Piease check all that apply):

Damage or destruction to real or personal property Oo Fear of Future Injury and/or Medica! Monitoring
Earnings/Profit Loss 0 Loss of Subsistence use of Natural Resources
Oo Personal injury/Death 0 Removal and/or clean-up costs

O Other:

* This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.

10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Farm, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

EXHISIT C:5
Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 24 of 25

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Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

SEE ATTACHED LETTER

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working. :

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The filing of this Direct Filing Short Form shall aiso serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Case 2:10-md-02179-CJB-DPC Document 12435-2 Filed 02/28/14 Page 25 of 25

Please check the box(es) below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

CI 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

[I 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

OJ 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

OD 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
O 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

7 Owner, lessor, or lessee of real property alleged to be damaged. harmed or impacted, physically or economically, including
lessees of oyster beds.

0D a. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Og. Bank, financial institution, or retail business that suffered losses as a result of the spill.
1 10. Person who utilizes natural resources for subsistence.

11 14. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3}

OO 1. Boat captain or crew involved in the Vessels of Opportunity prograrn.

O 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

O13. Vessel captain or crew who was not invoived in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

CI 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
C] 5. Resident who lives or works in close proximity to coastal waters.

Cl 6. Other:

Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted" under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attaxney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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Claimant or Attorney Signature {
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JESSICA B. RETIEN ESO /
Print Name V

11/30/2012
Date

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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EXHIBIT c-?
